                                                      U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York

                                                      86 Chambers Street
                                                      New York, New York 10007



                                                      April 23, 2025

By ECF
The Honorable Denise L. Cote
United States District Judge
United States Courthouse
500 Pearl St.
New York, NY 10007


       Re:     Am. Fed’n of Gov’t Emps., AFL-CIO, et al. v. U.S. Office of Personnel Mgmt.,
               et al., No. 25 Civ. 1237 (DLC)


Dear Judge Cote:

        This Office represents the Defendants in the above-referenced case. Pursuant to Section 7
of the Stipulated Protective Order in this case (ECF No. 66), Section 8.B of Your Honor’s
Individual Practices, and Section 6 of the Southern District of New York’s ECF Rules &
Instructions, we write respectfully to request leave to file an unredacted version of the Office of
Personnel Management (“OPM”) administrative record in this action under seal, along with a
courtesy copy delivered to Chambers. 1

        Defendants make this request given Defendants’ concerns that identifying certain OPM
employees publicly would be an unwarranted invasion of privacy and could lead to potential
threats and harassment. See, e.g., United States v. Amodeo, 71 F.3d 1044, 1051 (2d Cir. 1995);
Matter of New York Times Co., 828 F.2d 110, 116 (2d Cir. 1987) (“the privacy interests of innocent
third parties . . . should weigh heavily in a court’s balancing equation in determining what portions
of motion papers in question should remain sealed or should be redacted,” and noting that
“redaction of names” of third parties may be appropriate to protect their personal privacy interests).
In addition to this information, the administrative record contains other sensitive information,
including the contact information of agency personnel involved in the onboarding and granting of
access to the relevant OPM employees. A version of the administrative record with limited
redactions to protect such sensitive information, consistent with the Stipulated Protective Order
entered in this case, has been filed contemporaneously with this request (see ECF No. 78) and will
enable the public to assess the basis of the Court’s decision on Plaintiffs’ forthcoming motion for
a preliminary injunction. See, e.g., In re Savitt/Adler Litig., No. 95 Civ. 1842 (RSP)(DRH), 1997
WL 797511, at *3 (N.D.N.Y. Dec. 23, 1997) (finding that “[r]edaction of names and identifying
details will protect the strong privacy interest of non-part[ies] while still enabling the public and

1
 An unredacted version of the OPM administrative record has already been produced to Plaintiffs’
counsel pursuant to the Stipulated Protective Order (ECF No. 66).
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press to assess,” the basis of the court’s decision); Lohnn v. Int’l Bus. Machines Corp., No. 21 Civ.
6379 (LJL), 2022 WL 36420, at *17 (S.D.N.Y. Jan. 4, 2022) (permitting redaction of “the names
and titles of executives, managers, and other [Defendant] employees” to protect personal privacy,
and noting that such information “is not necessary for the public to understand the issues in the
litigation”).

         For these reasons, we respectfully request that the unredacted version of the OPM
administrative record be filed under seal. Plaintiffs do not consent to the request to file the
unredacted administrative record under seal, but they have indicated they will not file an opposition
at this time.

       We thank the Court for its consideration of this request.

                                              Respectfully submitted,

                                              JAY CLAYTON
                                              United States Attorney for the
                                              Southern District of New York

                                          By: /s/ David Farber         .
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CC: Plaintiffs’ counsel (by ECF)
